Page: 1

Filed: 10/28/2019

Document: 8

Case: 19-6019

OCT 28 2019

asatio ANiHAUNITED STATES CIRCUIT COURT FOR THE SIXTH CIRCUIT

GA oO, DROITS OTOriy
Case No 19-6019

JOHN DOE, 18-471
Plaintiff - Appellant
and
JOHNSON DOE, I; JOHNSON DOE, Il; JOHNSON DOE, HL
Plaintiffs
V.
STATE OF TENNESSEE;
WILLIAM BYRON LEE, in his official capacity as the Governor of the State of Tennessee;

HERBERT H. SLATERY, III, in his official capacity as the Attorney General of the State of
Tennessee;

DEBORAH TAYLOR TATE, in her official capacity as the Administrator of State Court of the
State of Tennessee;

JANE DOE;

KIRK VANDIVORT;

REYNOLDS, POTTER, RAGAN & VANDIVORT, PLC;

CRAIG MONSUE, in his official capacity as Judge of Dickson County General Sessions Court;
DAVID WOLF, in his official capacity; as a Chancellor of the Dickson County Chancery Court;
DICKSON COUNTY CHANCERY COURT,

DICKSON COUNTY GENERAL SESSIONS COURT

Defendants -- Appellees.

BRIEF OF APPELLANT

On Appeal from the U.S. District Court for the Middle District of Tennessee,
Case No 3:18CV471

John Doe, Pro Se
JohnDoePlaintiff@gmail.com

Page: 2

Filed: 10/28/2019

Document: 8

Case: 19-6019

Facts

The marriage of John Doe and Jane Doe produced three sons, Johnsons Doe I, I, & HL.
Amended Complaint, Doc #22, PagelD# 248, 4 2. During the marriage, John Doe was often a
stay at home parent to his sons. /d PagelD# 251,926. As the Doe marriage deteriorated in late
2017 and January 2018, John Doe exhibited acute symptoms of depression. Jd. at PageID# 251,
26. Specifically, lack of energy, lack of social engagement, anger outbursts, and suicidal
ideation, culminating in John Doe’s hospitalization February 1-5, 2018. /d. 927. The
hospitalization resulted in John Doe being treated with medication and he showed immediate
improvement. /cd and /d. at Pagel[D# 256 162. The conduct of the parties between February 5-
March 2, 2019 indicates that Jane Doe sought a protective order only when John Doe became set
on seeking a divorce. /d PagelD# 251, (28-31; PageID# 259, | 76; Pagel[D# 270 9146-147.

Jane Doe sought a domestic abuse order of protection requiring John Doe to have no
contact with her and the Doe children. /d@ PageID# 251, 931; Jane Doe met with John Doe on
February 28, 2018 in person, two days after she had first unsuccessfully attempted (the judge
was out of town) to obtain an ex parte order of protection. /d@. In her protective order petition,
Jane Doe made allegations of potential child abuse, which have never been independently
validated by any child protection or law enforcement agency. /d, PagelD# 251, 932-35; Her
petition for protective order primarily focused on John Doe’s supposed mental health instability,
specifically symptoms and treatment for depression. Based on her March 2, 2018 petition, Hon.
Craig Monsue, judge of the Dickson County General Session Court, issued an ex parte order of
protection until a hearing could be had. /d@ PagelD# 251, 431;

A hearing was had on March 21, 2018 before the Hon, Craig Monsue; This hearing was

audio recorded. /d. PageID# 253, § 43-44. At that time, Jane Doe called three witnesses

Page: 3

Filed: 10/28/2019

Document: 8

Case: 19-6019

primarily or solely to testify about John Doe’s suicidal ideation on January 31, 2018. Id. at 440.
Jane Doe testified as well. See /c. at PageID#254,{] 46(referencing Jane Doe’s testimony.) In
summation, Jane Doe’s attorney argued Jane Doe was fearful because she didn’t have access to
John Doe’s mental health records and went on to compare John Doe and his depression to a rabid
dog that needed to be checked out. /d. at PageID#252-253, | 39. Considering all of this
testimony about John Doe’s depression, Hon. Judge Craig Monsue issued anorder of protection
preventing John Doe from having contact with Jane Doe, and the Doe children. /a at PageID#
253 943. In issuing the “no contact”order, Defendant, Judge Monsue specifically said he was not
making a custody or placement decision, but was deferring that to the Dickson County Chancery
Court, where John Dee had filed for divorce on March 8, 2018. fd and /d. at PageID#252, 937.

On March 26, 2018, John Doe filed a de nevo review of the protective order in the
Dickson County Chancery Court, along with a motion for a temporary visitation order. /e/ at
PageID# 254, 945. The case was called on April 24, 2018 and instead of a temporary order
hearing, Judge Wolfe instructed the parties to go to the hallway and negotiate supervised
visitation. /d. at PageID#254, 950. Upon returning and trying to object to Jane Doe’s dictated
conditions, Judge Wolfe instructed that John Doe was not going to get any visitation that day
except by agreement of the parties. Jc.

John Doe had no contact with his children for 69 days as a result of the “no contact”
orders issued because of the symptoms and treatment of his depression. /d at Pagel[D#258 4/73.

On April 24, 2018, having appointed a guardian ad litem and ordered a psychological
evaluation, Judge Wolfe adjourned the issue of a temporary hearing indefinitely. /e. at
PagelD#255, 454. On August 3, 2018, the case was adjourned for a temporary hearing on

August 10. /d at PageID#257 963-65. The matter was originally scheduled for the entire day;

Page: 4

Filed: 10/28/2019

Document: 8

Case: 19-6019

however, after seven witnesses had been dismissed to the hallway and John Doe had called Jane
Doe adversely, only then Judge Wolfe indicated that the focus of the hearing was John Doe’s
mental health, that the diagnosis concerned him, and that John Doe would have to prove he was
not a danger to his children. /d@ at PageID#257 166. Further at this hearing Judge Wolfe said he
would not regard the Americans with Disabilities Act (ADA) as applicable in his court until
some other Tennessee court says it applies. /d. at 65. He further waived the Rule 35 report and
said to John Doe, “You've got a lot of diagnoses here.” /d. at 967.

Because there was no court reporter present and there is no routine audio recording in the
Dickson County Chancery Court, verbatim contemporaneous records of the April 24, August 3,
August 10 hearings do not exist. Jd PagelD# 259, 478;

The Amended Complaint in this action followed.

Procedural History

John Doe offered the Amended Complaint (Doc #23, PageID# 247-273) on August 14,
2018, with tt being accepted for filing on October 5, 2018. The suit also names his three sons as
Plaintiffs. Jed. at PageID#248, 2. John Doe moved for appointment of a guardian ad litem to
represent his minor children on October 12, 2018. Doc #30, PageID#309-3 10 (denied as moot
July 12, 2019),

John Doe seeks a declaratory judgement that the Tennessee protective order statute,
specifically Tenn, Code 36-6-606(a)(1), cannot legally result in an order that the respondent have
no contact with his children, as a matter of state statutory interpretation. Claim #1, Doc. 23 at
PagelD# 259-262, 80-98. In the alternative, John Doe seeks a declaratory judgment that the

statute is unconstitutional, as vague or because the preponderance of the evidence standard

Page: 5

Filed: 10/28/2019

Document: 8

Case: 19-6019

applicable at a Tennessee domestic abuse protective order hearing provides insufficient due
process (primarily a substandard evidentiary burden) Claim#2, fd. at PageID#262-63, 499-103.

Further, John Doe seeks declaratory judgment that the Tennessee custody statute, Tenn.
Code § 36-6-106(8), violates Title IT of the ADA, on its face, (Claim #3) or as applied (saving
construction) (Claim #4). Jc, at. PagelD#263-66, 104-120. Likewise, John Doe seeks
declaratory judgment that imposition of a Rule 35 examination fee and supervision costs is an
illegal surcharge on his disability, in violation of Title [of the ADA. Claim #5, fd. at
PagelD#266-267, 9121-125.

John Doe also seeks monetary damages on behalf of himself (Claim #6) and his children
(Claim #7) for the intentional disability discrimination he and his children were subjected to by
the State of Tennessee; Judge Monsue and Wolfe, acting in an official capacity, and the county
and state courts, respectively. /a. at PageID#267-269, 9126-134.

In addition, in bringing her protective order petition, Jane Doe was seeking to improperly
gain an advantage in the impending divorce proceedings and thus John Doe has brought a state
law claim for abuse of process. Claim #9, /d. at PageID#270-71, 9142-153.

As an ancillary to these issues, John Doe notes that a contemporaneous verbatim record
was not taken by the Dickson County Chancery Court at material times, as permitted by state
practice. /d. at PagelD#259, J78. Therefore, John Doe seeks a declaratory judgment that the
state’s failure to take a routine contemporaneous verbatim record in state “courts of record”
violates 14" Amendment due process. Claim #10, /d@. at Page [D#271-273, 9154-164.

While this case was pending in the United States District Court for the Middle District of
Tennessee, John Doe sought a temporary restraining order and a preliminary injunction to restore

the his illegally deprived parenting rights while this case was pending. Doc # 51 and 57.

Page: 6

Filed: 10/28/2019

Document: 8

Case: 19-6019

Ultimately, John Doe withdrew those motions (after the state court had restored contact between
John Doe and the children); the district court had taken no action regarding this deprivation of
the sacrosanct fundamental liberty interest. Doc # 109.

Claims brought against Jane Doe’s former lawyer and law firm were dismissed by
agreement. In addition, John Doe intends to abandon Claim #8, violation of Due Process against
Jane Doe, as weil. John Doe also no longer seeks relief voiding state court orders, as the state
orders at issue are no longer currently in effect.

The District Court dismissed John Doe’s case on July 12, 2019, based upon the domestic
relations exception to federal court jurisdiction. See generally Magistrate Report and
Recommendation, Doc. #112; Affirmed Doc #117.

Shortly thereafter, John Doe discovered that the wife of the assigned district court judge
is employed as the head of the legal office serving the Tennessee General Assembly. Aff. in
Support of Motion for Recusal, Doc. #119, Att 1, PageLD#777, 3. In that role, the district court
judge’s wife oversees the office advising the General Assembly as to the legality, enforceability,
and legal effects of its enactments. /d. at PagelD# 777-778, 94. On that basis, John Doe filed for
recusal and reconsideration, which was denied. Doc #119 and Doc #121, In denying the motion
the district court noted that the judge’s wife has not directly worked on the statutes at issue.
Order Denying Motion for Recusal, Doc#121, PagelD#782.

John Doe then brought this appeal.

ISSUES PRESENTED
1. Does jurisdiction properly lie in the Federal Courts?
District Court: No, because this matter presents a controversy barred by the domestic

relations exception.

Page: 7

Filed: 10/28/2019

Document: 8

Case: 19-6019

Appellant: Yes. This matter is not barred by the very narrow domestic relations

exception and there is no basis for abstention.

2. Does this suit require dismissal on the basis of recognized immunities?

District Court: The issue was mooted by the District Court’s ruling on the Domestic

Relations exception.

Appellant: No, dismissal is not warranted as absolute immunity and qualified immunity

do not apply in this context.

3. Does the Amended Complaint state a prima facia case?

District Court: This issue was mooted because of the District Court’s holding regarding

the domestic relations exception.

Appellant: Yes.

4. Should the matter be reassigned up on remand?

District Court: No, the District Court denied a Motion for Recusal.

Appellant: Yes, there is a clear basis for recusal or, in the alternative, a clear basis for

supervisory reassigninent by this Court.

ARGUEMENT
1, JURISDICTION PROPERLY LIES IN THE FEDERAL COURTS,

“Chief Justice Marshall famously cautioned: ‘It is most true that this Court will not take
jurisdiction if it should not: but it ts equally true, that it must take jurisdiction if it should... We
have no more right to decline the exercise of jurisdiction which 1s given, than to usurp that which
is not given." Adarshall v. Marshall, 547 US 293, 298-99 (2006), quoting Cohens v. Virginia, 6

Wheat. 264, 404 (1821).

Page: 8

Filed: 10/28/2019

Document: 8

Case: 19-6019

A. The Domestic Relations Exception Does Not Apply Because John Doe is Not
Seeking Relief Which Would Implicate the Doctrine.

The domestic relations exception is a non-constitutional judicial doctrine which prohibits
the federal courts from granting divorces, making custody orders, and awarding alimony or child
support. Akenbrandt v. Richards, 504 U.S 689, 703-04 (1992). Catz v. Chalker, 142 F.3d 279
(6th Cir. 1998), abrogated on other grounds by Coles v. Granville, 448 F.3d 853, 859 n. 1 (6th
Cir. 2006), John Doe did not expressly seek such relief.' In dismissing for want of jurisdiction,
the district court said that though John Doe did not expressly seek the verboten relief, it is what
John Doe really sought. Magistrate Recommendation, Doc #112, PageLD#716-17 (“{Ajt the
core of each and every claim is a request that this Court modify the protective and child-custody
orders issued in his state-court divorce and custody proceedings... Because this case is, at heart,
Doe’s attempt to modify the state court’s child-custody orders, this Court lacks subject-matter
jurisdiction,”)

However, implied motive does not evoke the domestic relations exemption as the Circuit
has made abundantly clear previously. Alexander v. Rosen, 804 F.3d 1203, 1205-1206 (6 Cir,
2015). Further, the district court implied motives and facts in favor of dismissal, but the
opposite is generally required. Compare Magistrate Recommendation, Doc #112, PageID#716-
17 with Scheuer v. Rhodes, 416 US 232, 236 (1974) (“... it is well established that, in passing on

a motion to dismiss, whether on the ground of lack of jurisdiction over the subject matter or for

* John Doe’s Amended Complaint did seek to validate a state “no contact” order, which the
judge making the order pronounced to not be a custody determination. It also sought to have the
state courts enter a temporary order by default, a procedural application, not one on the merits.
Seeking to invalid orders has not been held as a basis to invoke the domestic relations exception.

Tatz, 142 F.3d. at 291; Alexander v. Rosen, 804 F.3d 1203, 1206 (o* Cir. 2015). Regardless, this
requested relief is now moot.

Page: 9

Filed: 10/28/2019

Document: 8

Case: 19-6019

failure to state a cause of action, the allegations of the complaint should be construed favorably
to the pleader.”)

Further, the District Court relied on pre-Ankenbrandt case law and a misleading 2015
district court case. PageID#715-16. This Circuit has repeatedly laid out the proper course, post
Ankenbrand:

“Tt is true that Alexander asks us to "abate[]" his child support payments... But just as

Catz's request that we nullify his divorce did not prevent us from taking

jurisdiction... Alexander's desired relief does not alter the character of his case, which

presents standard questions of federal conspiracy and civil rights law.”

Alexander v. Rosen, 804 F.3d 1203, 1206 (6® Cir, 2015), internal citation to Cafz, 142 F.3d. at
291 omitted, (emphasis added).

The domestic relations exception is clearly not implicated by John Doe’s Amended
Complaint and the district court judgment is in clear error, such that the Appellants cannot
defend the district court ruling in good faith, given the Circuit’s precedents.

B. The domestic relations exception does not apply to federal claims or to these
federal claims.

The domestic relations exception has sometimes been called, “the ‘domestic relations’
exception to diversity jurisdiction.” Akenbradt, 504 U.S at 692. In fact, it is recognized that as a
non-constitutional, judicially created doctrine, stemming from interpretation of jurisdictional
statutes, and that the domestic relations exception may be defeated by statute. /d at 700.
Arguably, the exception should apply equally to supplemental jurisdiction, as well as diversity

jurisdiction.

Page: 10

Filed: 10/28/2019

Document: 8

Case: 19-6019

However, under no circumstance should the domestic relations exception be held to
defeat a claim arising under federal law or for deprivation of a fundamental liberty interest.
Federal question cases arise from statues. Statutes conferring jurisdiction trump the non-
constitutionally-based, judicially-created, domestic relations exception. The domestic relations
exception has been limited to those cases where the plaintiff asks the federal court for a divorce,
custody determination, or an award of alimony or child support. John Doe is not aware of any
federal statutory action which would permit any such relief prohibited by the domestic relations
exception.

It is conceivable that a domestic relations litigant could construe any perceived state court
wrong into a due process violation, but the federal remedy for such a violation may properly be
voiding a state court order and ordering a new hearing in state court, not making a merits
determination.

While other sister circuits have recognized that the domestic relations exception does not
apply to suits arising under federal claims, this Circuit has not yet so held. See discussion The
troubling dismissal of John Doe’s federal statutory and constitutional claims, which implicate the
sacrosanct fundamental liberty of the parent-child relationship on a discriminatory basis
prohibited by statute, provides solid factual, procedural, and policy bases for this Court to join its
sister circuits in curtailing the overbroad application of this doctrine in the district courts.

In this case, this overbroad application of the doctrine resulted in a litigant clearly entitled
to relief figuratively having the courtroom door slammed in his face, after waiting for months to
be heard. Federa! rights and statutes should not be curtailed because family law is involved; the

rights affecting and surrounding the family have always been recognized as fundamentally

10

Page: 11

Filed: 10/28/2019

Document: 8

Case: 19-6019

protected. How is it possible that Title IE of the ADA can abrogate state sovereign immunity, but
not the judicially created domestic relations exception?
C. Younger abstention is not appropriate.

The district court did not reach the issue of Younger abstention. However, the issue 1s
still appropriate to be addressed on appeal, as it pertains to the Court’s subject matter
jurisdiction, an issue which is never waived. Therefore, the matter should be addressed and
quickly dispatched.

Younger abstention, originating with Younger v. Harris, 401 U.S. 37 (1971), is a doctrine
that prohibits a federal court from hearing certain types of cases when a related state case is also
pending involving the Plaintiff, specifically criminal cases, civil cases in which the state is a
party, and cases involving state appellate bonding and state court contempt. Sprint
Communications Ine. v. Jacobs, 571 U.S. 69; 134 §.Ct at 588, 591, 593-94 (2013), citing New
Orleans Public Service, Inc. (NOPSD) v. Council of City of New Orleans, 491 US 350, 368
(1989). See also FCA US, LLC v. Spitzer Autowald Akron, LLC 887 F.3d 290 (6" Cir 2018), and
Doe v. University of Kentucky, 860 F.3d 365, 369 (en Cir. 2017). Younger applies where the
underlying state case is one of these, “but no further.” Sprint Communications Inc vy Jacobs, 57\
U.S. at 594.

The state case here, by its category, does not implicate Younger abstention. In fact, the
9" Circuit affirmatively declared last year that Younger abstention does not apply to a pending
state family law case. Cook v. Harding, 879 F.3d 1035, 1040 (9"" Cir, 2018) (“We emphasis that
federal courts cannot ignore Sprinf’s strict limitations on Younger abstention simply because
States have an undeniable interest in family law.”) The Younger abstention analysis should stop

there, with a finding that the underlying divorce case is not of a type that implicates the doctrine.

1

Page: 12

Filed: 10/28/2019

Document: 8

Case: 19-6019

However, there is further basis to dispatch with Younger abstention. John Doe is suing
for intentional discrimination in violation of Title II of the ADA, a clatm for which state
sovereign immunity has been abolished. 42 U.S.C. § 12202. See also Tennessee v Lane, 541
US. 509, 533-34 (2004) and Popovich v. Cuyahoga County Court of Common Pleas,..., 276 F.3d
808, 815 (6" Cir. 2002). John Doe is not aware of any instance where a court went on to dismiss
based on Younger where sovereign immunity had been properly abrogated. Likewise, the
remedies are identical for Title I] of the ADA as they are under $504 of the Rehabilitation Act.
42 U.S.C. §12133, referencing 29 U.S.C. §794a [(a)(2)}. Olmstead, 527 U.S. at 590 (1999).
Younger abstention is clearly obliterated in the §504 context, as the state is treated as having
consented to federal court jurisdiction. See Bd. of Ed. of Oak Park and River Forest v. Kelly E,
207 F.3d 931, 935 (7" Cir 2002). This is further bolstered by the statutory directive that relief be
available to Plaintiffs suing the government as if they were suing a business. 42 U.S.C, §12022.
If a non-profit had used a process to discriminate against John Doe, denying him an adoption,
review of the non-profit’s procedures would not be barred by Younger, so too when the state
takes away children on the basis of disability discrimination,

In addition, Younger is not appropriate when the state courts do not provide a proper
jurisdiction or the other matter presented a proper forum for the controversy. In this case, it
apparent the state courts are not competent to determine John Doe’s ADA claims, as Judge
Wolfe expressly deferred “to some other court.” Likewise, John Doe cannot fathom suing the
State of Tennessee, its offices, or, in an official capacity, state and county judges, in the divorce
proceeding.

For all these reasons, Yourger simply does not apply to this case. Applying Yourger here

would allow the courts of Tennessee to continue to take children from their parents without

12

Page: 13

Filed: 10/28/2019

Document: 8

Case: 19-6019

providing sufficient due process, discriminate against parents with disabilities, and to do so
without keeping verbatim records, all of which infringe federally protected rights.
i. THERE ARE NO APPLICABLE IMMUNITIES.

The district court’s ruling did not reach the issue of immunity. However, when a
defendant claims immunity, such matters are immediately appealabie defenses. In the district
court, Defendants raised baseless claims of immunity. As a matter of judicial efficiency, if
nothing else, these meritless claims should be promptly dispatched now.

Absolute immunity or qualified immunity, as sought by the Defendants in the district
court, may apply where a government actor is sued for monetary damages in an unofficial
capacity, Harlow v. Fitzgerald, 457 U.S. 800 (1982). However, no government actor is sued
herein in an unofficial capacity.’ Therefore, absolute and qualified immunities do not apply.

Immunities do not apply to claims brought for declaratory or injunctive relief against
state officials acting in their official capacity. Ex parte Young, 209 U.S. 123 (1908). Therefore,
Claims 1-5, and 10, which seek no monetary relief, do not give rise to claims of immunity.

As to claims 6-7, John Doe is suing for monetary damages, but he is suing the state or
state and county officials in an official capacity. A suit against a government official in an
official capacity is the same as suing the state and county themselves. Will v. Michigan Dept. of
State Police, 491 US 58, 71 (1989). The only immunity potentially applicable to a governmental
entity itself is sovereign immunity. Kentucky v. Graham, 473 US 159, 167 (1985), Claims for
intentional discrimination under Title IT of the ADA, when a fundamental liberty interest is at
stake, abrogate sovereign immunity. Termessee v. Lane, 541 U.S. 509 (2004). Therefore, there 1s
no bar to the monetary damage claims against the State of Tennessee; The Dickson County

General Session Court; the Dickson County Chancery Court; and, in thetr official capacities,

* Jane Doe is the only person sued individually; that claim is under state law.

13

Page: 14

Filed: 10/28/2019

Document: 8

Case: 19-6019

Judge Monsue and Judge Wolfe for intentionally discriminatorily depriving the John Doe and his
three children of their fundamentally protected relationships, on the basis of John Doe’s
disability.
IW, THE AMENDED COMPLAINT LAYS A PRIMA FACIA CASE AS TO ALL
REMAINING CLAIMS.

In the district court, no one except the now-dismissed parties, filed any true challenge on
the merits of any individual claims. However, failure to state a claim upon which relief can be
granted may be raised at any time before a trial on the merits. Kontrick v. Ryan, 540 U.S. 443,
459 (2004). It is also well-settled, subject matter jurisdiction is never waived.

A. The statute does not clearly permit deprivation of the parent child relationship
by protective order and such an interpretation is counter to the protections
afforded by other statutes.

As a matter of statutory interpretation, there is no state law authority for a protective
order “no contact” provision between parent and child. State law authority poses a matter of
subject matter jurisdiction, ripe for collateral attack. Statutory construction ts a question of
law. Gleaves v. Checker Cab Transit Corp., 15 S.W.3d 799, 802 (Tenn. 2000); Myint v. Allstate
Ins. Co., 970 S.W.2d 920, 924 (Tenn. 1998). The primary goal of statutory interpretation is to
carry out legislative intent without broadening or restricting the statute beyond its intended
scope. Houghton v. Aramark Educ. Res., Inc., 90 S.W.3d 676, 678 (Tenn. 2002). In construing
legislative enactments, the presumption is that every word in a statute has meaning and purpose
and should be given full effect if the obvious intention of the General Assembly is not violated
by so doing. J# re CLK.G., 173 S.W.3d 7/4, 722 (Tenn. 2005). When a statute is clear, the plain

meaning applies, without complicating the task. Lastman Chem. Co. v. Johnson, 13:1 S.W.3d 503,

14

Page: 15

Filed: 10/28/2019

Document: 8

Case: 19-6019

507 (Tenn. 2004). The obligation is simply to enforce the written language. Abe/s ex rel. Hunt v.
Genie Indus., Inc., 202 8.W.3d 99, 102 (Tenn. 2006). It is only when a statute is ambiguous that
a court may reference the broader statutory scheme, the history of the legislation, or other
sources. Parks vy, Tenn. Mun. League Risk Mgmt. Pool, 974 S W.2d 677, 679 (Tenn. 1998).
Further, the language of a statute cannot be considered in a vacuum, but "should be construed, if
practicable, so that its component parts are consistent and reasonable." Marsh v. Henderson, 221
Tenn. 42, 424 §.W.2d 193, 196 (1968). Any interpretation of the statute that "would render one
section of the act repugnant to another" should be avoided. Tenn, Flec. Power Co. v. City of
Chattanooga, 172 Tenn. 505, 114 S.W.2d 441, 444 (1937).

A state protective order court has jurisdiction over the parties’ children, but the issue is
what the state domestic abuse protective order court cat and cannot order regarding the
respondent’s minor children. Tenn. Code Ann. § 36-3-606(a)(1), indicates a Protective Order
may include a provision:

“Directing the respondent to refrain from committing domestic abuse, stalking or sexual

assault or threatening to commit domestic abuse, stalking, or sexual assault against the

petitioner or the petitioner's minor children.”
{emphasis added). However, the General Assembly expressly omitted the words “minor
children” from the “no contact” statutory provision. Tenn. Code Ann § 36-3-606(a)(2), fo wit:

“Prohibiting the respondent from coming about the petitioner for any purpose, from

telephoning, contacting, or otherwise communicating with the petitioner, directly or

indirectly.”
(emphasis added). Such an omission of the words “petitioner’s minor children” in the “no

contact” subdivision must be considered intentional. Furthermore, the general statement at the

15

Page: 16

Filed: 10/28/2019

Document: 8

Case: 19-6019

outset of Tenn. Code §36-3-606(a)’ cannot permit the state court to do contrary to the specific
provisions therein, Implying authority to enter an order of “no contact” with the Petitioner’s
minor children is repugnant to the express provision therein allowing the protective order court
to make a custody determination. Tenn. Code §36-3-606(a)(6).

Further, a “no contact” order in a protective order proceeding is repugnant to the rest of
Tenn. Code Title 36, as well as Tenn. Code Title 37. A criminally convicted physical or sexual
child abuser is statutorily entitled to supervised visits and an abandoning parent may have
restricting residential time. Tenn. Code. Ann. § 36-6-101(a)(2)(A). Further, jurisdiction over
abused or allegedly abused children is the exc/tsive realm of the juvenile courts in Tennessee.
Tenn. Code Ann. § 37-1-103(a)(1} & § 37-1-120(b)13(g). In fact, if a state court determining
custody matters suspects child abuse, the statutes direct that court to refer it to juvenile court,
which the provides significant more protections and for the representation of the children’s
interests. Tenn. Code Ann. § 36-6-106(a)(11). §37-1-114; 37-1-117(b), 37-1-126(a); 37-1-
128(c). Tenn. Code. Ann. §37-1-101. It is inconceivable that the General Assembly could have
intended for Jane Doe to end-run the juvenile court system by seeking a protective order under
Title 36 Ch. 6, instead of filing a child abuse petition under Title 37.

B. In the alternative, the state law allowing protective order “no contact” provisions
with the minor children is void for vagueness or insufficient procedural due
process, under the 14 Amendment to the U.S. Constitution.

As if the statutory basis for a “no contact” provision was not shaky enough, the

constitutional footing is a mere scintilla. Even if there is some implied authority, tt is not

apparent on the face of the statute, thus the statute is unconstitutionally vague. In addition, the

°“ A protection order granted under this part to protect the petitioner from domestic abuse,

stalking, or sexual assault may include, but is not limited to...” Tenn. Code. Ann. §36-6-606(a).

16

Page: 17

Filed: 10/28/2019

Document: 8

Case: 19-6019

statute, and the courts in practice, provide insufficient procedural due process in infringing the
Plaintiffs’ parent-child fundamental liberty interests.

1.) The statute is unconstitutionally vague.

The Due Process Clause of the 14th Amendment protects against laws which are too
vaguc to provide notice of prohibited conduct and standards of enforcement. Grayned v. City of
Rockford, 408 U.S. 104, [08-109 (1972). Specifically:

"Vague laws offend several important vaiucs. First, because we assume that man is free to steer
between lawful and unlawful conduct, we insist that laws give the person of ordinary intelligence
a rcasonable opportunity to know what is prohibited, so that he may act accordingly...Second, if
arbitrary and discriminatory enforcement is to be prevented, laws must provide explicit standards
for those who apply them. A vague law impermissibly delegates basic policy matters to
policemen, judges, and jurtes for resolution on an ad foc and subjective basis, with the attendant

dangers of arbitrary and discriminatory applications"

Id. See also, Village of Hoffman Estates v. Flipside, 455 U.S. 489, 498 (1982). While the
standard is more stringent in the criminal law context, it applies to non-criminal matters, as well.
Flipside, 455 U.S. at 498-99, In addition, laws threatening to interfere with Constitutionally
protected rights are subject to a more stringent test for vagueness. /d. at 499.

There is no notice given in Tennessee law as to what acts constitute domestic violence
warranting a protective order including a “no contact” provision with the minor children, let
alone an explicit statement that such an outcome is possible. There are no factors or analysis
present in the statute for an order of “no contact” with the minor children, such that one can
determine whether respondents get a “‘no contact” order with their children or a visitation or
custody order under Tenn. Code § 36-3-606(a)(6).

if Tenn. Code §36-3-606, by the phrase, “A protection order granted under this part to

protect the petitioner from domestic abuse, stalking or sexual assault may include, but is not

17

Page: 18

Filed: 10/28/2019

Document: 8

Case: 19-6019

limited to...” permits the protective order court to sever the constitutionally protected
fundamental liberty interest of the parent-child relationship, it could also arguably permit
summary execution of the respondent.

2. The state procedure provides insufficient procedural due process in depriving

Plaintiffs of their parent-child and child-parent rights. 4

It is well-settled that parental rights are fundamental liberty interests protected by the
U.S. Constitution. See e.g. Michael H. v. Gerald D., 491 U.S. 110, 122-124 (1989). See also
Stanley v. IHinois, 405 U.S. 645, 651 (1972). Federal Courts of Appeals for the Second and
Seventh Circuit, have clearly articulated the reciprocal fundamental liberty interest of the child in
the parent-child relationship. Duchesne v. Sugarman, 566 F.2d. 817, 825 (2d Cir. 1977)C This
right to the preservation of family integrity encompasses the reciprocal rights of both parent and
children. It is the interest of the parent in the ‘companionship, care, custody and management of
his or her children.’”); see also Doe v. Heck, 327 F.3d 492, 518 (7" Cir. 2003) (“Equally
fundamental is the right of a child to be ratsed and nurtured by his parents”). The Fourth Circuit
Court of Appeals has clearly articulated the interest of the child, while avoiding legal recognition
of a fundamental liberty interest. Jordan by Jordan v. Jackson, 15 F.3d 333, 343 (4" Cir.
1994)(“The bonds between parent and child are, in a word, sacrosanct”). However, the Supreme
Court appears to have yet to weigh in on the matter of reciprocal child rights. Michael H. vy.
Gerald D., 491 U.S. 110, 130 (1989).

The procedural due process analysis considers the amount of due process due under the
circumstances, taking into consideration the type of interest at stake, with the highest protections

afforded to fundamental liberty interests; the risk of wrongful deprivation; and the government's

" There is no challenge herein to the constitutionality of the order of protection procedure as it applies solely
between the petilioner and the respondent. The due process challenge is only as it relates lo the due process
involved regarding respondent and the parties’ children.

18

Page: 19

Filed: 10/28/2019

Document: 8

Case: 19-6019

interest. Afatihews v. Eldridge, 424 U.S. 319, 333 (1976). The courts have held a recipient is
entitled to a pre-termination hearing, ranging from a phone call to a formal hearing, depending
on the circumstances, before stopping welfare benefits, terminating employment, or non-
academic suspension or termination of school enrollment. See generally, Goldberg v Kelly, 397
U.S. 254 (1970), Cleveland Bd. of Ed. v. Londermill, 470 U.S. 532, 5454 (1985); Goss v. Lopez,
419 U.S. 565 (1975).

Procedural due process protections may include a heightened burden of proof, to a clear
and convincing standard. Santosky et al. v. Kramer, 455 U.S. 745, 747-48 (1982). At an order
of protection hearing, under Tennessee law, the burden of proof is a mere preponderance of the
evidence. Tenn. Code § 36-3-605(b). Due process also requires procedures that reduce risk of
wrongful deprivation, as opposed to “imprecise substantive standards unusually open to
subjective values that leave determinations unusually open to the values’ of the judge.” Jd. at
762. In addition, appointment of counsel for indigent parties may be a due process
consideration. Lassiter v. Dept. of Soc. Services of Durham County, 452 U.S. 18 (1981).

Perhaps the clearest due process issue is that Johnson Doe I, Il, & TIT ‘s due process rights
were clearly violated, as their interests were not represented at all. Tenn. Code Title 36, Chap. 3-
Pt. 6, affords no opportunity for the children to be heard or their best interests represented at any
stage of the protective order proceeding. “The fundamental requirement of due process is the
opportunity to be heard ‘at a meaningful time and in a meaningful manner.”" Matthews v.
Eldridge, 424 U.S. 319, 333 (1976), citing Armstrong v. Manzo, 380 U.S. 545, 552 (1965).

For these reasons, the state protective order process provided insufficient procedural due

process to John Doe and Johnsons Doe L, Il, & TI before severing their parent-child rights.

> “Values” is putting it nicely, as it also leaves it open to the judge’s “discrimination, ignorance, or bias.”

19

Page: 20

Filed: 10/28/2019

Document: 8

Case: 19-6019

C. The Courts of Tennessee can not require an allegedly disabled person to bear or
front the costs of evaluations to determine the effect their disabilities have on their
parenting, as the regulations enacted under Title II of the ADA bars such disability
surcharges.

Title II of the ADA prohibits imposing a surcharge on a disabled person for measures to
allow them to participate in the entity’s activity. 28 C.F.R. §35.130 (f). Whether the cost should
be borne by the party alleging a parent’s disability poses a threat (the party that should have the
burden of proof) or borne by the state is of no matter here, but under no circumstances should the
disabled parent be put in the position of having to pay considerable costs, due to their disability.

To have an equal opportunity to parent on an equal footing with the parent making the
allegations of disability, the Rule 35 evaluation is ordered of the disabled (or regarded as
disabled) person. This exam is only ordered on those who are disabled or regarded as such. This
clearly meets the criteria laid out in Dare v. California, 191 F.3d 1167, 1171 (9" Circuit 1999).
Furthermore, the state court ordering the disabled parent to pay for supervised visits is also a
surcharge.

D. Title If of the ADA prohibits discrimination on the basis of a disability in
making custody decisions, unless the parent poses a true threat. Tennessee
law and the State Judicial Defendants are in violation of this prohibition, as
alleged in Claims 4-7

Title If of the American with Disabilities Act clearly applies in the administration of
family law, as noted by the joint guidance issued by Health and Human Services and the
Department of Justice. “Protecting the Rights of Parents... With Disabilities...” Dated August

2015, Doc #23-1, PageID# 278-295. Such a document is entitled to deference. Chevron U.S.A.,

20

Page: 21

Filed: 10/28/2019

Document: 8

Case: 19-6019

Inc. v. Natural Resources Defense Council, Inc., 467 U.S. 837, 844 (1984), see also Bragdon vy.
Abbott, 524 U.S. 624, 646 (1998) (applying Chevron deference to DOJ’s interpretation of ADA
Title 11D; Civic Ass'n of the Deaf of New York City, Inc. v. Giuliani, 915 F. Supp. 622, 635
(S.D.N_Y. 1996),Ofmstead v. L.C. ex rel. Zimring, 527 U.S. 581, 597-98 (1999). See also 42
U.S.C. § 12206(a)(1); (c)(1); (c)(2)(B)G); (c}(3); see also, 28 C.F.R. § 35.190(a).

Title U1 of the ADA prohibits a government entity, such as a court, from discrimination
based upon a disability. 42 U.S.C. §12131 & 12132. However, Tenn. Code § 36-6-108 does just
that, allowing a Tennessee court determining custody to consider a parent’s disability. The state
statute is in clear and direct conflict with federal law. Compare Tenn. Code § 36-6-108; with 42
U.S.C. §12131 & 12132, see also 28 C.F.R. § 35.139(a), 35.130(b)(3) & (h). The state law
cannot stand as it is. John Doe has pled an alternate theory of statutory saving construction, but
that is of little matter at this juncture.

Hon. David Wolfe’s intentionally disregarded the ADA. This disregard impacts not only
John Doe, but Johnson Doe J, IL, and ITI, who due to Hon. David Wolfe’s discrimination, were
deprived of their father. The ADA protects persons discriminated against because of their
association with someone with a disability. 28 C.F.R. 35.130(g). A Helping Hand, LLC y.
Baltimore County, 515 F.3d 356 (4th Cir. 2008) (based on its association with addicted persons it
served, methadone clinic could bring ADA claim for injuries from zoning decisions), Dee v.
County of Centre, 242 F.3d 437 (3d Cir, 2001) (adoptive parents of child with HIV could sue to

challenge policy restricting foster placements in households that include person with HTY).

21

Page: 22

Filed: 10/28/2019

Document: 8

Case: 19-6019

E, John Doe properly seeks to require the State of Tennessee to take a verbatim
record of all hearings in “courts of record” as a logical extension of existing
case law (Claim #10).

Circuit Courts of Appeals have noted that, as a matter of 14"

Amendment due process,
parties may be permitted to audio record a proceeding or that the government body may be
required to take a verbatim record of some proceedings, either by court reporter or audio
recording. /laim v. Medical College of Ohio, 418 F.3d 629, 636 (2005). (Student may audio
record disciplinary hearing); Singh v. Holder, 638 F. 3d 1196, 1208 (9th Cir 2011}(immigration
administrative hearings must be recorded by BIA). This Circuit previously specifically that in
some contexts the government could be required to make the contemporaneous verbatim
recording of proceedings. F/aim, 418 F.3d at 629.

Based on this precedent, John Doe asserts due process requires the State to record all
court appearances in the Chancery and Circuit Courts in the State of Tennessee, the
memorialization of which shall be made available to the public, with the State able to charge for
transcripts or copies. This is not about free transcripts, as the district court tried to re-cast the
claim. But see PagelD #716. {t is simply unconscionable that a state court litigant should have
to arrange for the appearance and payment of their own court reporter for the purposes of
ensuring creation of a verbatim record of the proceeding, which is a basic foundation of due
process.

iV. UPON REMAND THIS MATTER MUST BE REASSIGNED.
Appellant seeks an order reassigning this matter based on judicial recusal or the Court’s

supervisory jurisdiction.

22

Page: 23

Filed: 10/28/2019

Document: 8

Case: 19-6019

A. The District Court judge was required to recuse himself, and the Court must
require his removal, as his impartiality might reasonably be questioned

Hon. Judge William Campbell Jr.’s spouse is employed as the head of the state legal
office giving counsel to the Tennessee General Assembly. In this role, the advice of Mrs.
Campbell and her office to the General Assembly and its members is confidential and not
available to public view. Apparently, Judge Campbell believes that he need only inquire of his
wife if she worked on a particular statute directly previously and if the answer is no he can
proceed on a case. His view is far too narrow and fails to consider the broader picture.

Mrs. Campbell’s work is confidential under state law. Tenn. Code 3-12-105(a)(2).
Therefore, Judge Campbell’s method of conflict determination requires him to approach his wife
and identify matters before his court, seeking confidential information about her Job.

Mrs. Campbell’s work is apparently as a supervisor, whether she handled certain matters
directly or she supervises the attorney that did is indistinguishable. In her role, Mrs. Campbell
arguably has an obligation to notify the General Assembly if she has become aware that one of
their enactments may be unconstitutional or that her office’s prior advice was in error or
potential error. Further, she may be called on in the future to draft correcting legislation after a
successful challenge in federal court to a Tennessee law. In addition, given his wife’s role in the
Tennessee legislature, a decision critical of state law or state practice, such as that sough in this
case could create a hostile work environment for Judge Campbell’s wife.

For these reasons, Judge Campbell should not hear a case involving a Tennessee statute,
or rule made pursuant to statute, so long as his wife continues to be employed for the Tennessee
General Assembly. In addition, upon his wife ceasing to be employed in such capacity, he still

should not hear cases involving statutes enacted during her tenure with the General Assembly.

23

Page: 24

Filed: 10/28/2019

Document: 8

Case: 19-6019

Anything less creates a reasonable question of the judge’s impartiality under 28 U.S.C. §455. His
failure to recuse himself is in error.

B. In the Alternative, the District Court Handling of this Case Lends Itself to Re-
Assignment under this Court’s Supervisory Authority, in the Interests of Justice.
Regardless of any requisite for a recusal or removal, this Court has supervisory authority

to direct the district’s chief judge to re-assign a case on remand within the originating district.

In this instance, the district court, both the district judge and the magistrate, engaged in a practice
of applying a narrow exception broadly to dismiss John Doe’s case, implying facts to support
dismissal, misconstruing John Doe’s claims, and acting without due speed.

At a minimum, re-assignment for supervisory purposes is required. While reassignment
within the district is certainly a reasonable option, John Doe believes that assignment to a judge
from another district may be warranted, under 28 U.S.C $292 (b).

Conclusion
For ail these reasons, the cause of John Doe and his children should be reinstated, the

judgment of dismissal of the Middle District of Tennessee reversed, and the case remanded.

Respectfully Submitted,
October 24, 2019 f
er , (lh Toes

Jolyf Doe, Pro Se

Johndoeplainitf{a@gmail.com

24

Filed: 10/28/2019

Document: 8

Case: 19-6019

Page: 25

2

qIOO WoW Opel sj

‘UeBe - opaaed eseape “ase

Se eater Late oe Es : i

PESS FIRMLY TO SEAL

e Retail POSTAGE REQUIRED
USPOSTAGEPAID a —
figin: 3 = ape
iP s7a5 Be) Receive
&. | ccreezg [ |
PRIORITY MAIL 2-DAY ®
5 ovo oz || CEBORAH S, HUNT, (ERIORITY’ ey estates
AG08 x MAIL * visit us ALuss.coMe
EXPECTED DELIVERY DAY: 10/26/18 mmo
P [> | Joa De
| os Comet Crider
SHIP
- TO: fod Syeos O
7,90 & STH ST ari
Si cca Wik, TH 3786
PS TRACKING NUMBER
etimod | 100 E Fh s+ 54%
aes S005 5141 3591 S297 5091 09 | Cinctnant; oh YS 202-
* When use apes any USOT, To 3996

declaration label may be required.

® Domestic only

PsOO001000014 OD: 121/2x 91/2

* Domestic only, ™ For le-shi the

welght Is 70 ibs. For

USPS.COM/PICKUP

FOR DOMESTIC AND INTERNATIONAL USE

weight ls 4 Ibs,

This packaging is the property of the U.S. Postal Service® and is provided solely for use in sending Priority Mail® shipments.

_

